Case 2:17-cv-00198-D.]H Document 3 Filed 10/28/16 Page 1 of 3

UN|TED STATES DlSTRlCT COURT, CENTRAL DlSTRlCT OF CAL|FORN|A
CIVIL COVER SHEET

 

l. (a) PLA|NT|FFS ( Check box if you are representing yourself g )

Carpenters Southvvest Administrative Corporation, a Ca|ifornia non~profit
corporation; and Board of Trustees for the Carpenters Southwest Trusts,

(b} County of Residence of First Listed Plaintifi” |.os Angeles
(EXCEPT iN U.S. PLA/NT!FF cA$ES)

DEFENDANTS

( Checl< box ii you are representing yourself E )

County of Residence of First l.isted Defendant
riN i/.$. PLA/NT/FF CA$E$ o/\/L Y)

H K B inc., an Arizona corporation doing business as SOUTl-l\/VEST lNDUSTRiAL
RlGGlNG; HARRY KENT BAKER, an individual; SCOTT W|LLlAl\/l l\/\lLLER, an §ndividuai;
.ll\l\/iES DGUGLAS W|i_SON, an individual; and DOES 1 through 10, inclusive

 

 

(C) Attorney$ (F/'rrn Name/ Address and Telephone Number) if you are
representing yourself/ provide the Same information

)odi Siegner, Bar #102884
DeCarlo 81 Shan|ey, a Professiona| corporation
533 S, Fremont Avenue, 9th Fioor, Los Angeles, CA 90071-1706
Phone: 213'488-4100 & Fa)<: 213~488~4180

l|. BAS|S OF JURlSD|CTlON (Plece an X in one box only.)

1, U.S. Government
Plaintil"i‘

2. U,S, Government
Defendant

§§ 3. Federal Question (U.S.

Government Not a Party)

4. Diversity iindicate Citizenship lCitizen or Subject or a
of Parties in item |1|)

l\l. OR|G|N (Place an >( in one box on|y‘)

1. Originai 2.

Proceeding

§

Rernoved from
State Court

E

§

3. Remanded from
Appel|ate Court

frozen of This State

lForeign Coontry
l

 

Attorney$ iF/rm Name, Addre$s and Telephone /\/umber) if you are
representing yourself1 provide the same information

ll|. C|TIZENSHIP OF PR|NCIPAL PART|ES-For Diversity Cases Oniy

(Place an X in one box for plaintiifand one for detendant)
P"YF

4. Reinstated or
Reopened

§

§ 1

Citizen otAnotherState ij 2 § 2
l

DEF

g r

D3 l:l3

S. Transierred from Another
District (Specify)

incorporated or Principal Piace

of Business in this State

incorporated and Princ§pai Piace

PTF DEF

[:141:]4
1351:15

of Business in Another State

Foreign Nation

6. l\/luiti~
District
Litigation

fl

E@E§

 

V. REQUESTED |N COMPLA|NT: JURY DEMAND: g Yes l__>?] No
CLASS ACTiON under F.R.CV.P` 23:

EYeS § No

(Checl< "Yes" oniy if demanded in compiaint.}

g MONEY DEMANDED|N COMPLA|NT: $ 5001162.78

Vl. CAUSE OF ACTION (Cite the U.S, Civil Statute under Which you are filing and vvrite a brief statement of cause Do nor cite;'urisdictional Statutes unless diversity,)
29 U.S.C.i 132 (Section 502 ofthe §mpioyee Retirement income Security Act, as amended.; This is a civii action to collect delinquent fringe benefit contributions doe under
the provisions ofa collective bargaining agreement and for defalcation offiduciary byrne misappropriation of vacation and annui€y funds held

 

l

Vl|. NATURE OF SUiT (Place an X in one box only}.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

OTHER STATUTES CONTRACT REAL PROPERTY CONT. lMMlGRATION PR\SONER PET|T!ONS PRGPERTY RlGHTS ` 1 §
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Rates/Etc. § Ovemaymé\m& g 310Airp‘ane § h‘ d § 3 ac Lun9(923)
§ 460 Deporration Enforcernentof SHAH l 371 T~YU€ m L€ii 919 ij 540 iViandarnus/Other [:1 863 DiWC/DlWV\/(405 (g)}
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FOR GFFECE USE ONL¥’;

Case Number;

 

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UN|TED STATES DlSTRlCT COURT, CENTRAL DlSTRlCT OF CALlFORNlA

ClV|L COVER SHEET

Vlll. VENUEZ Your answers to the questions below will determine the division ofthe Court to Which this case will be initially assigned This initial assignment is subject
to change, in accordance With the Court‘s General Orders, upon review by the Court of your Complaint or Notice of Rennova|,

 

QUEST|ON A: Was this case removed

from state court?

m Yes l\lo

if"no, " skip to Question B. ll "yes," check the
box to the right that applies enter the
corresponding division in response to
Question E, belovv, and continue from there

 

swiss cAsE was antonio in niE couNTY_oiéq _

lN\TlAl.DlVlSlOl\llNi:ACDiS:~ l "

 

[:i l_os Angeles, Ventura, Santa Barbara, or San Luis Obispo

 

 

 

 

Western
:l Orange Southern
[:l Riverside or San Bernardino Eastern

 

 

 

QUEST|ON B: ls the United States, or

 

 

 

 

 

 

 

 

 

 

B'1' po §OW“ O_l mole Ofthe defendants Who reside in YES. Your case vvill initially be assigned to the Southern Division.
One Of its agencies Dl' Employeesy 3 the d‘$mct res’de m Orange CG'? l:l Enter "Southern" in response to Question E, belovv, and continue
PLA|NTlFF in this action? v from there.
check one otihe boxes to the right _',
m Ye$ NO m NO. Continue to Question BlZ.
|f .. ,. ki m Quesmn § if i. ., am f 8‘2' _DO §0% 97 myore*©€ the def€ndam$ th' lemle m YES. Your case Wil| initially t)e assigned to the Eastern Divisionv
HO,` 5 lD y » §/@S, W@~ the district reside in Riverside and/or San Bernardino m Emer i.EaStemi. m regpon$e to Question 51 bQ[QW[ and mmmue
QU€WOY‘ B‘l¢ al llQllY~ Counties? lConsicler the two counties together.i from them
check one oft/ve boxes to the right NO. Your case Will initially be assigned to the Western Division.
d m Enter "Western“ in response to Question E, be|oW, and continue
from there
QUEST|ON CZ lS the U¥\it€d Sfatesr or C’l- DO 500/0 Ol mOle Ofthe plaintiffs Who reside m the YES, Your case will initially be assigned to the Southern Division.
one of its agencies or employees, a dl$m€l leS'd@ ‘l"~ OYS"Q@ CO»? m inter "Soutnern" in response to Quesiion E, below, and continue
DEFENDANT in this action? b from there
check one ofrne boxes to the right _'>
m Ye$ NO :l l\lC>, Continue to Question C.Z,
if ‘,HO ,, Sks m Quesmm D if ,, 68 n answe( Cjz' 'DO SQ% G_l more dme plaintiffs Wh° reside m the \/ES‘ Your case will initially be assigned to the Eastern Division.
', `p . ' Y ' dl$mct "es‘de m R'Ver$‘d@ and/m gen Bemar`dm° m Enter "iiastern" in response to Question E, below, and continue
QU@SUOW C~l' el ilgl"t~ Coonties? (Consider the two counties together.`i from the‘,e‘
check one ofthe boxes to the right -'* NO. Your case vvill initially be assigned to the Western Division.
l:] Enter "Western" in response to Question E, below, and continue
from there
A. y B. C.
~ ~ Riverslcle or San i_os Angeles Ventura
, . . . 7 ` 1 t‘~
QUESTlON D. Location of plaintiffs and defendants. Orangecoumy Bemardmo Coumy gama Barba{a{ m San
` ~ ` Ltiis Obispo County

 

 

indicate the location(s) in Which 50% or more cl plaintiffs Who reside in this district
reside (Checl»< up to two boxes, or leave blank ii none ofthese choices apply.)

ij

ij l>§l

 

indicate the location(s) in vvhich 50% or more of defendants Who reside in this
district reside (Checl< up to two boxes, or leave blank if none of these choices

apply,i

 

§

ij §§

 

 

 

 

D.l . ls there at least one answer in Column A?

l:l Yes

if "yes," your case Will initially be assigned to the
SOUTHERN DlVlSlOl\l.
Enter "Southern" in response to Question E, he|ovv, and continue from there

li "no," go to question 92 to the right

[>_<:lNo

->

D.2. ls there at least one answer in Column B?

li “yes," your case will initially loe assigned to the

Enter "Eastern" in response to Question E, below
lt "no," your case vvill be assigned to the WESTERN Dl\."lSlOl\ls

Enter "Western" in response to Question E, below.

m Yes § No

EASTERN Dl\/lSlON.

 

QUESTlON E: initial Division?

.l.

_lNll'lAl. DlVlSlON iN CACD

 

Enter the initial division determined by Question A/ Bi Ci or D above: .-}

 

WESTERN

 

QUESTlON F: Northem Counties?

 

Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties?

§ Yes No

 

 

 

CV-?"l loé.!l 45

CE\§lL €OVER SHEE’§`

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UN|TED STATES DlSTRICT COURT, CENTRAL DlSTRlCT OF CALIFORN|A

 

C|V|L COVER SHEET
lX(a). lDENTICAL CASES: l~ias this action been previously filed in this court? NO m YES
ii yes, usi case numberis);
IX(b). RELATED CASES: is this case related las defined belovv) to any cases previously l'“iied in this court? NO m YES

if yes, list case number(s):

 

Civil cases are related vvhen they:

l:] A. Arise from the same or closely related transactionsl happening, or event;
§ B. Ca|l ior determination of the same or substantially related or similar questions of law and fact; or
g C. For other reasons Wou|d entail substantial duplication of labor if heard by differentjudges.

Checl< all boxes that apply That cases may involve the same patent, trademark, or copyright is not, in itself, sufficient to deem cases
related

 

 

X. SlGNATURE OF ATTORNEY
(OR SELF~REPRESENTED LlTlGANT):

 

~/ x DATE: October 28, 20i 6
jodi Siegner, DeCarlo &`~;Shatiley; Attorneys for Plaintiffs
Notice to Counsel/Parties: The submission oithis Civil Cover Sheet is reqdired loy Locai Rule S~l. This Form C\/~?i and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as provided by local rules of court For
more detailed instructions see separate instruction sheet (C\!~O7lA}.

 

 

 

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code Abbre\riation Substantive Statement of Cause of Action
All claims for health insurance benefits (l\/ledicare) under Title iS, Part A, of the Social Security Act, as amended Also,
361 kim include claims by hospitalsl skilled nursing facilities etc., for certification as providers of services under the program
(42 U.S.C. iQSSFF(b))
862 31 Ali claims for "Biaci< tung" benefits underTitle 4, i’art B, o€the Federal Coal i\/iine Health and Satety Act oi i969. (30 UtS.C,
923)
863 D!WC Ail claims filed by insured vvori<ers for disability insurance benefits linder Title 2 ot the Sociai Security Act, as amended; plus

ali claims iiied for child‘s insurance benefits based on disability (112 U.S.C. 405 ig))

863 DEWW All claims filed for widows or Widovvers insurance benefits based on disability under iitle 2 el the Social Security Act, as
‘ amended (42 U.S.C. 405 (g))

864 SS‘D All claims for supplemental security income payments based upon disability filed underTitle io of the Sociai Security Act; as
amended
865 RS\ Ali claims for retirement (old age} and survivors benefits under Title 2 oithe Social Security Act, as amended

042 U.S,C. 405 (Qi)

 

C\!<=`?"i {961‘14} Cl\i’ii. C{§V§R SHEET Page 3 Oi: 3

